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                              In the Matter Of:

                 PARKER vs THE CITY OF GULFPORT
                                1:21-CV-00217-HSO-BWR




                             CATINA PARKER

                               August 29, 2024




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·1· ·anywhere.
·2· · · · Q· · Sure.· But he left on Thursday, nonetheless?
·3· · · · A· · Correct.
·4· · · · Q· · Okay.· Do you know -- do you know whether he
·5· ·had been to Houston and back to Stephanie's after he
·6· ·left you, or had he gone -- do you know whether he had
·7· ·gone directly to Stephanie's?
·8· · · · A· · I don't know.
·9· · · · Q· · Well, when you talked to Mary and Antonio,
10· ·did they ever tell you that they had seen Leonard?
11· · · · A· · I didn't go into detail.· I asked where he
12· ·was, and she said that he was in -- I don't think he
13· ·ever made it to Houston.· If I go back and think about
14· ·the conversation with his mom, he never made it to
15· ·Houston.
16· · · · Q· · So he had come down here to see Stephanie?
17· · · · A· · Correct.
18· · · · Q· · To be with her.· Okay.· I understand.
19· · · · · · ·I'll get on these pictures in just a second.
20· ·But I want to -- y'all -- your lawyers have produced
21· ·for us a statement, a recorded statement, that you had
22· ·taken, or at least you were a party to of Tremaine
23· ·Markray.
24· · · · A· · Okay.
25· · · · Q· · Do you know him?


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·1· · · · A· · Yes.· Not know him.· Know of him.
·2· · · · Q· · How do you know of him?
·3· · · · A· · I know that he was the guy that was in the
·4· ·vehicle with Leonard when he passed.
·5· · · · Q· · Did you know him before Leonard had passed?
·6· · · · A· · No.
·7· · · · Q· · Okay.· So you found out about his
·8· ·involvement with these events after Leonard was
·9· ·killed?
10· · · · A· · Correct.
11· · · · Q· · What did you find out about his involvement?
12· ·What did you find out about his involvement prior to
13· ·the time you talked to him?
14· · · · A· · I knew that there was an altercation between
15· ·him and his girlfriend.· I knew -- and this is from
16· ·what Stephanie was telling my friend, Kim, on the
17· ·phone.
18· · · · · · ·I knew that there was a altercation.· I knew
19· ·that Leonard came in between them.· I know that that
20· ·was his first time meeting Leonard.· And I know that
21· ·Leonard tried to separate --
22· · · · Q· · Let me stop you real quick.
23· · · · · · ·Stephanie says that's not true in her
24· ·deposition, that they had met before.· They had been
25· ·to Minden, the two of them.


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·1· · · · · · ·Did you not know about that?
·2· · · · A· · Tremaine told me that that was his first
·3· ·time meeting Leonard.
·4· · · · Q· · Okay.
·5· · · · A· · That he had never seen him before.
·6· · · · Q· · I can't change what Tremaine told you.
·7· ·That's why it is important that you might want to take
·8· ·a look at Stephanie's deposition.
·9· · · · · · · · · MS. HARTON:· Objection.
10· · · · A· · Okay.
11· ·MR. WHITFIELD: (Continuing.)
12· · · · Q· · Okay.· Well, there is a lot of holes that
13· ·need to be filled in in terms of your beliefs.· And I
14· ·think that when this thing is over with that would be
15· ·something that would be a good thing to do.· That's
16· ·just me.· But your lawyer --
17· · · · · · · · · MS. HARTON:· That's not -- object.
18· ·Come on, Bill.· Let's move on.
19· ·MR. WHITFIELD: (Continuing.)
20· · · · Q· · Your lawyers are going to fill you in.
21· · · · · · ·But all I'm telling you is, is that you
22· ·understood that this was the first time that they had
23· ·met?
24· · · · A· · That's what Tremaine told me.· From my
25· ·understanding, that's all I know.


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·1· · · · Q· · What did Stephanie tell you about Tremaine
·2· ·when you talked to her that day on the 1st?
·3· · · · A· · The only thing -- she didn't tell me
·4· ·anything about Tremaine other than him and his
·5· ·girlfriend had gotten into an altercation.· Leonard
·6· ·came in between that.· And then Leonard tried to get
·7· ·Tremaine, you know· -- so that he wouldn't lose his
·8· ·job, he wanted to take Tremaine to his hotel.
·9· · · · Q· · Okay.· And then ultimately there was this
10· ·exchange between he and the police officer?
11· · · · A· · Who and the police officer?
12· · · · Q· · Stephanie, did she say that to you?· Did she
13· ·tell you --
14· · · · A· · That who had an altercation?
15· · · · Q· · Leonard and Tremaine.
16· · · · A· · That Leonard and Tremaine had an
17· ·altercation?
18· · · · Q· · Well, ultimately he got shot.· I'm talking
19· ·about this event.
20· · · · · · ·I mean, did she tell you at all anything
21· ·about what happened that resulted in the discharge of
22· ·a weapon?
23· · · · A· · That they were in the car backing up and
24· ·that when they were backing up I guess the police was
25· ·parked down the road, and he was walking up to the


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·1· ·vehicle and that -- I don't know.· Leonard didn't see
·2· ·him and, you know --
·3· · · · Q· · Is that what Stephanie told you?
·4· · · · A· · Yeah.
·5· · · · Q· · Okay.· And she told you this on a
·6· ·speakerphone in a room full of people?
·7· · · · A· · My sister and Kimberly were in the room at
·8· ·the time.
·9· · · · Q· · Okay.· Very good.
10· · · · · · ·So the conversation, though, that you had
11· ·with Tremaine that was recorded --
12· · · · A· · Uh-huh.
13· · · · Q· · -- did you alert him beforehand that you
14· ·were recording the conversation?
15· · · · A· · No.
16· · · · Q· · Okay.· Why not?· Why did you not tell him
17· ·that?
18· · · · A· · I -- I don't know why I didn't tell him.                    I
19· ·know why I did it, so that I could remember everything
20· ·that he was saying.
21· · · · Q· · Okay.· All right.· Well, the -- do you still
22· ·have like the actual recording?
23· · · · A· · I do.
24· · · · Q· · You do?· Like the tape or the digital thing,
25· ·whatever?


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·1· · · · A· · Digital.
·2· · · · Q· · So I would like for you to send that to --
·3· · · · · · · · · MS. HARTON:· We've sent it to you.
·4· · · · · · · · · MR. WHITFIELD:· I don't have the --
·5· ·have I got the recording?· I've got the transcript.
·6· · · · · · · · · MS. LIND:· Yeah.
·7· · · · · · · · · MR. WHITFIELD:· Okay.· Well, then, my
·8· ·mistake.· I didn't know we had that.· So thank you.
·9· ·Thank you for sending that to your lawyer.· So I will
10· ·stand to be corrected on that, and I'll be sure to
11· ·listen to that.· I looked at the transcript, and I
12· ·just assumed that you still had the digital copy.· So
13· ·thank you for sending that.
14· ·MR. WHITFIELD: (Continuing.)
15· · · · Q· · Did you talk to anybody else and record a
16· ·conversation with anybody else?
17· · · · A· · No.
18· · · · Q· · Did you talk with anybody else that was
19· ·actually in the house with Stephanie and Leonard that
20· ·evening like by phone that you would have recorded
21· ·their conversation?
22· · · · A· · No.
23· · · · Q· · Why was it -- did you talk to anybody else
24· ·at all on the telephone about what happened?
25· · · · A· · No.


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·1· · · · Q· · Why did you talk to just Tremaine?· Why just
·2· ·Tremaine?
·3· · · · A· · Because no one had Tremaine's side of the
·4· ·story.· No one -- none of his kids or I knew, you
·5· ·know, what he saw or what happened because Tremaine
·6· ·was in the vehicle with him.
·7· · · · Q· · Okay.· When you say, "his kids," are you
·8· ·talking about Leonard's kids?
·9· · · · A· · Leonard's kids, yes.
10· · · · Q· · Okay.· Did you call any of his children that
11· ·day?
12· · · · A· · I didn't make any phone calls to his kids.
13· ·His sister and mom made the phone calls.
14· · · · Q· · To his kids?
15· · · · A· · Yes.
16· · · · Q· · Okay.· How long after the actual event on
17· ·the morning of February the 1st was it that you found
18· ·out that Tremaine was actually somebody that you
19· ·needed to reach out to?
20· · · · A· · Maybe months.
21· · · · Q· · Months?
22· · · · A· · Months before I got in contact with him.                    I
23· ·don't know exactly when, but I know it was a long time
24· ·that no one heard his side of the story.· So I think I
25· ·got his name, and I looked him up.· And I think I got


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·1· ·police station.
·2· · · · Q· · Okay.· Did they tell you why?
·3· · · · A· · They wouldn't talk to us?· No.· They were
·4· ·real rude and just didn't want to talk to us.
·5· · · · Q· · Okay.· Understood.
·6· · · · · · ·Are you aware today that Tremaine -- that
·7· ·Markray -- Tremaine Markray had given an audio
·8· ·statement to the police?
·9· · · · A· · I saw that on that -- with the report that
10· ·came out.
11· · · · Q· · You saw that?
12· · · · A· · Yes.
13· · · · Q· · You saw the video, or you saw --
14· · · · A· · I saw some of what he was saying because
15· ·when they did the article, there was a whole article.
16· ·So I saw what he was saying.
17· · · · Q· · So you could click the --
18· · · · A· · It was a video in that article.
19· · · · Q· · Video.· Like an embed?
20· · · · A· · Yes.
21· · · · Q· · I understand.
22· · · · · · ·Well, how much of it did you watch?
23· · · · A· · I couldn't watch a lot of it.
24· · · · Q· · Understood.
25· · · · · · ·Did you -- have you ever been shown any kind


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·1· ·of comments, statements that Tremaine made while he
·2· ·was in the backseat of a police car?
·3· · · · A· · No.
·4· · · · Q· · Have you read his deposition?
·5· · · · A· · No.
·6· · · · Q· · So after you took his statement, did you
·7· ·transcribe it, or was it something that you kind of
·8· ·depended on the lawyers to do?
·9· · · · A· · The lawyers.
10· · · · Q· · The lawyers did it?· Okay.
11· · · · · · ·So the next time you saw it, was it in
12· ·writing?
13· · · · A· · I didn't see it.
14· · · · Q· · So you haven't seen that statement even as
15· ·of today?
16· · · · A· · No.
17· · · · Q· · Okay.· So you just gave the digital copy to
18· ·them?
19· · · · A· · Yes.
20· · · · Q· · I mean, did you give it to your current
21· ·lawyer, or did you give it to another lawyer?
22· · · · A· · Another lawyer.
23· · · · Q· · Another lawyer?· Who was the --
24· · · · A· · Hold on.· Hold on.· No.· Did I give it --
25· ·I'm not sure.


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·1· ·you had taken?
·2· · · · A· · No.
·3· · · · Q· · Okay.· Do you know that any other statements
·4· ·have been taken?
·5· · · · · · · · · MS. HARTON:· Object to the form.
·6· · · · A· · As far as from?
·7· ·MR. WHITFIELD: (Continuing.)
·8· · · · Q· · From anybody.
·9· · · · A· · No.
10· · · · Q· · Okay.· But you are aware of some depositions
11· ·that have been taken, right?
12· · · · A· · Yes.
13· · · · Q· · And you haven't read any of the depositions
14· ·I have understood your testimony to be --
15· · · · A· · No.
16· · · · Q· · -- right?
17· · · · · · ·Ultimately a suit was filed for you and I
18· ·guess your daughter and his children?
19· · · · A· · Yes.
20· · · · Q· · And there are some things that were alleged
21· ·in the complaint.· And I can read them to you, but I
22· ·guess my -- my point in reading them to you would be
23· ·to find out how much of the facts of the complaint you
24· ·actually know.
25· · · · · · ·And I guess from what I've heard so far you


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·1· ·weren't even anywhere near Gulfport, Mississippi.
·2· · · · A· · No.
·3· · · · Q· · And the only facts that you know would have
·4· ·come from other people?
·5· · · · A· · Correct.
·6· · · · Q· · There's no facts in your complaint that you
·7· ·personally know?
·8· · · · · · · · · MS. HARTON:· Object to the form.
·9· ·MR. WHITFIELD: (Continuing.)
10· · · · Q· · Well, there's no facts about the incident in
11· ·the complaint that you personally know, other than
12· ·what you've been told?
13· · · · · · · · · MS. HARTON:· Object to the form.
14· · · · · · · · · MR. WHITFIELD:· Okay.· You can object
15· ·to form, but now you get to answer.
16· · · · A· · I'm not sure what you're asking me.
17· ·MR. WHITFIELD: (Continuing.)
18· · · · Q· · Well, do you know any of the facts about
19· ·this incident other than what you've been told?
20· · · · A· · Other than what I've been told and other
21· ·than what I've been saying?· No, I don't.
22· · · · · · · · · MR. WHITFIELD:· Well, see, that's what
23· ·makes the deposition go long.· Because I'm reasonably
24· ·sure y'all know what I'm asking.
25· · · · · · · · · Does she have any factual knowledge of


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·1· ·what happened during -- on February the 1st in the
·2· ·street on --
·3· · · · · · · · · MS. HARTON:· Are you asking -- if
·4· ·you're asking her if she witnessed anything, that's a
·5· ·different question than having personal knowledge.
·6· · · · · · · · · MR. WHITFIELD:· Well, that's kind of
·7· ·like do you know.
·8· · · · · · · · · MS. HARTON:· I mean, it's different.
·9· · · · A· · I know what was written in the article of
10· ·what happened, if that's what you're asking me.
11· ·MR. WHITFIELD: (Continuing.)
12· · · · Q· · All right.· Let me back up.
13· · · · · · ·You weren't even in Mississippi when this
14· ·happened, right?
15· · · · A· · No.
16· · · · Q· · And the first time -- the first thing that
17· ·you heard about this incident, as we've already
18· ·discussed, is late in the morning of the next day.
19· ·Well, not the next -- late in the morning.· Later on
20· ·in the morning of that same day.
21· · · · · · · · · MS. HARTON:· Objection to form.
22· · · · · · · · · MR. WHITFIELD:· What's the
23· ·objectionable about the same day?
24· · · · · · · · · MS. HARTON:· You've got -- you've got
25· ·to clarify your question.· You're asking her --


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·1· · · · Q· · His sister.· And his sister called you?
·2· · · · A· · Correct.
·3· · · · Q· · So that's how you find out about what
·4· ·happened?
·5· · · · A· · Correct.
·6· · · · Q· · Okay.· All right.· Now, there is -- we've
·7· ·got an amended complaint, I think, that it is the --
·8· ·hold on just a second.
·9· · · · · · · · · · · ·(Brief pause.)
10· · · · · · · · · MS. LIND:· We're on the third.· Right?
11· ·We're on the third --
12· · · · · · · · · MS. HARTON:· I think we're on the
13· ·third.· I filed an amended complaint when we were in
14· ·the bifurcated --
15· · · · · · · · · MR. WHITFIELD:· Yeah.· Okay.
16· ·MR. WHITFIELD: (Continuing.)
17· · · · Q· · So the general allegations in the amended
18· ·complaint, there's -- there's facts.· And, as I
19· ·remember now, looking back on it, we had to answer
20· ·like a bunch of them.
21· · · · · · ·For instance, let me just take -- let me
22· ·pull out paragraph 26 of the complaint.· "At this time
23· ·Jason Cuevas did not observe Leonard Parker, Jr. or
24· ·his passenger making any threatening gesture or
25· ·displaying any weapon."


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·1· · · · · · ·That's an allegation in the complaint, okay?
·2· · · · A· · Okay.
·3· · · · Q· · Make sense?
·4· · · · · · ·You don't know anything firsthand or
·5· ·personal that would -- that would allow you to affirm
·6· ·factually that that is a fact?
·7· · · · A· · I wasn't there.
·8· · · · Q· · Perfect.· That's my question.
·9· · · · · · ·You don't know anything in this complaint
10· ·that is alleged as a fact -- you don't know anything
11· ·about it personally?
12· · · · A· · I wasn't there.
13· · · · Q· · Well, do you know anything about the facts
14· ·of the case based on personal knowledge?
15· · · · · · · · · MS. HARTON:· Object to form.
16· · · · A· · Only what I've been told.
17· ·MR. WHITFIELD: (Continuing.)
18· · · · Q· · Simple yes will do.· Hum?
19· · · · A· · Only what I've been told.
20· · · · Q· · That's fine.· That's a good answer.
21· · · · · · ·How did you find out about Tremaine's phone
22· ·number?· How did you get that telephone number?
23· · · · A· · Tremaine and I talked on -- I found him on
24· ·Facebook, and I sent him a message.
25· · · · Q· · And then he reached back out to you?


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·1· · · · A· · Correct.
·2· · · · Q· · Okay.· And then y'all, by telephone, hooked
·3· ·up?
·4· · · · A· · Correct.
·5· · · · Q· · Okay.· Got it.· Okay.
·6· · · · · · ·Did you ever talk to any of the police
·7· ·officers about what happened?
·8· · · · A· · No.
·9· · · · Q· · Can you look at your pack of material there
10· ·that I put in front of you?· It's Exhibit No. 52.· Let
11· ·me flip through these exhibits real quick with you so
12· ·that we can kind of maybe try to wind down, okay?
13· · · · · · ·Picture No. 466, Catina, do you see that?
14· · · · A· · Yes.
15· · · · Q· · Okay.· Do you -- is that Leonard?
16· · · · A· · Yes.
17· · · · Q· · Okay.· Do you know when that picture was
18· ·taken?
19· · · · A· · It was at Leah's recital.
20· · · · Q· · Leah's recital?
21· · · · A· · She was in the band.
22· · · · Q· · She was in the band?· Okay.
23· · · · · · ·Do you know what year that would have been
24· ·taken?· Just about.· I'm not looking for a specific
25· ·date.


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·1· ·house.
·2· · · · Q· · When was this picture taken?
·3· · · · A· · This was a surprise visit, actually, and it
·4· ·was taken in 2019.
·5· · · · Q· · Okay.· So what -- what would have been the
·6· ·occasion for this picture to be taken in 2019?
·7· · · · A· · Leonard, III was surprising his dad.· So
·8· ·Leonard didn't know that he was coming in town, so he
·9· ·had it all set up.· He just wanted to come and visit.
10· · · · Q· · I understand.
11· · · · · · ·There was no like -- other than him showing
12· ·up --
13· · · · A· · Just showing up.
14· · · · Q· · -- and it being a special occasion, right?
15· · · · A· · Yeah.
16· · · · Q· · 509 would be?
17· · · · A· · Leonard and Latrecia.
18· · · · Q· · At her wedding?
19· · · · A· · At her wedding.
20· · · · Q· · Okay.· All right.· A minute ago we talked
21· ·about you calling up Tremaine.· Do you remember that?
22· · · · A· · Uh-huh. (Affirmative response.)
23· · · · Q· · Remember we talked about that?· You said
24· ·that you had reached out to him and, like, called him
25· ·and took a statement from him a couple of months after


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·1· ·the actual events, after the incident, right?
·2· · · · A· · Yes.
·3· · · · Q· · Do you remember -- I know that your lawyers
·4· ·were not kind of on the -- on the scene then.
·5· · · · · · ·Do you remember whether you had been --
·6· ·whether you had been -- whether a lawyer had been
·7· ·retained when you did that?
·8· · · · A· · Yes.
·9· · · · Q· · So a lawyer had been retained.· And then
10· ·after the lawyer had been retained, that's when you
11· ·called up Tremaine?
12· · · · A· · Correct.
13· · · · Q· · And took a statement from Tremaine, right?
14· · · · A· · I talked to Tremaine about the incident.
15· · · · Q· · Right.
16· · · · A· · I didn't really take a statement.· But if
17· ·you're talking about the recording --
18· · · · Q· · The recording.
19· · · · A· · -- yes.
20· · · · Q· · Was that on your phone?· Is that something
21· ·that you, like -- how did you do that on your phone?
22· ·I mean, did you have like a program that recorded the
23· ·conversation as you were having it?
24· · · · A· · I believe there is a recorder on my iPad,
25· ·and I was talking to him on the phone, so I had my


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·1· ·phone on speaker.
·2· · · · Q· · Oh, okay.· Got it.
·3· · · · · · ·Do you know whether any of your children --
·4· ·no -- any of Leonard's children ever reached out to
·5· ·any of the witnesses to talk to them?
·6· · · · A· · Not that I know of.
·7· · · · Q· · Okay.· How about any ex spouses, did any ex
·8· ·spouse, as far as you know, reach out to any of the
·9· ·witnesses to talk to them?
10· · · · A· · Not that I know of.
11· · · · Q· · So did you ever reach out to anybody else
12· ·that was actually in the -- in the house that night,
13· ·at Stephanie's house?
14· · · · A· · No.
15· · · · Q· · Okay.· The only person that you talked to
16· ·would have been Tremaine?
17· · · · A· · Correct.
18· · · · Q· · Now, you told me a little while ago that you
19· ·called the police department I guess to talk to
20· ·somebody at the police station?
21· · · · A· · I didn't.· I was too distraught.· But family
22· ·members did.
23· · · · Q· · Did you ever follow back up with the police
24· ·to try to talk to them about what happened?
25· · · · A· · I did not.


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                                Exhibit "22"
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        <0
                                     IWO
                                    Tremaine


                                  Text Message
                             Mar 28, 2021 at 9 23PM


          U heard anything?

                    The DA said they made a decision but
                    can't release it until 10 days

          Oh ok...let me know




          Ok thanks

                             Apr 13. 2021 at 2 55PM


                   Hey Tremaine a reporter wants to
                   reach out to you about the case. Will
                   you be willing to speak with her. She is
                   trying to bring light to this case

          Yes ill speak with her

                             Apr 13, 2021 at 6 1


          U ok?

                             Apr 15, 2021 at 8 4?.:   '


          U ok?I talk to those people

                                 Did she ask a lot of questions

          Yes... and I answered all of them...0
          ok? How your day went?


                                  Exhibit "22"
                                  •
                L• 14
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                                                         el 02/28/25




        <0
                                  Tremaine


          Yes... and I answered all of them...0
          ok? How your day went?

                     I'm hanging in there. I'm just thankful
                     that this case is about to get some
                     attention. We need answers as to why
                     they did what they did. I pray the truth
                     is revealed. How have you been?

           Yep..we gon get to the bottom of this
           but I been good ..I just be worried
           about u

           U ok?I just want u to know that care

                              Jun 2 2021 V     r9,4


                       Hey did you see the article that came
                       out today
                                                sun herald corn   0



           I haven't saw it yet...im driving at the
           moment.. .when I park ill check it out

           Thank u for sending it to me

                                             Have you read it yet

            Not yet...I can't park the truck till
            around 4




                                Exhibit "22"
                 L•QD
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                                                         02/28/25

                    Tremaine Markray
                    Active /m ityci



                          My healing can't begin until we get
                          justice. My heart breaks fir my
                          daughter because they were joined
                          at the hip. He was a good guy just
                          never should have been there. I just
                          don't know how to make it without
                          him. My life is forever changed and
                          my heart is broken. I can't stop and
                          won't stop until his story is told.

                And I'm here to tell it with u... they
                was wrong and I don't like it or how
                they handled both of us.. .they were
                wrong and justice need to be served




                                      How did it go with the lawyer

                I just got off the phone with her..i
                told her everything I saw.i hate to
                relive that moment because it was
                devastating and the scariest
                moment of my life but ill help yall
                because something needs to be
                done about it. .he didn't do anything
                wrong

                         I understand how traumatized you
                         must have been. I wasn't there and I
                         feel it a    gh I were there. Thank
                         you for      the right thing and just


         0001                          Aa
                               Exhibit "22"
Case 1:21-cv-00217-HSO-BWR
                L•DO          Document 239-4   Filed 02/28/25   Page 23 of 30

                   Tremaine Markray


                       I understand how traumatized you
                       must have been. I wasn't there and I
                       feel it as though I were there. Thank
                       you for doing the right thing and just
                        know I'm praying for you as well. I
                       just want justice for my husband
                        Thank you! Have you seek
                        counseling? You may need to

               You're welcome and no I haven't but
               my mom told me the same thing...
               that night still bothers me



                                                  I know it does




                           Hey Tremaine did they call you as a
                           witness for the Grand Jury?


         _11    No they haven't called yet

                           I know Stephanie went on yesterday.
                           I'm surprised they didn't call you as
                           a withness.

                Oh ok...maybe they'll call next week
                sometime ...my number is
                3184558611



         0           C.)                                 •1
                                Exhibit "22"
Case 1:21-cv-00217-HSO-BWR
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                             Document 239-4      Filed 02/28/25   Page 24 of 30


        <           Tremaine Markray


               Oh ok...maybe they'll call next week
               sometime ...my number is
               3184558611

                         APR 7, 20"    -r 1 f"




                                      Covington News 5




                             Mississippi grand jury clears
                             officer in fatal shooting of
                             Covington man




                        My heart is broken and it's like I loss
                        my husband all over again.

                         APR 1, 1011 Ai 1.10PM


               How can they come to that without
               us appearing in court?




               I'm so sorry for the pain you're
               going through..I      't understand
               how they could c        4t without
               rni irt Snmethina nnt riaht and I


                              Exhibit "22"
Case 1:21-cv-00217-HSO-BWR         Document 239-4          Filed   30 gm; Page 25 of 30
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         4 Facebook

                     Tremaine Markray
        <0       •   Active nay.
                            APF4 i , iuil Ai i.i0Phi


               How can they come to that without
               us appearing in court?

                            APP 7 2021 AT 2 45PM


               I'm so sorry for the pain you're
               going through..I don't understand
               how they could do that without
               court.. Something not right and I
               feel like they hiding something...I
               think it was a set up

                            APP      /11,1 AT 1-n7 n•,,I


                            I Ranks Tremaine. We are still going
                           to fight to clear his name.

               I'm going to help u clear his name
               cause he didn't do nothing wrong
               for them to shoot him like that.. .1
               hate those kind of police they think
               they can get away with
               anything..smh

                                              Can you call me please

                            Pit,0 7 '021 AT 8:49


               U ok?I'm just now seeing
         I     your message




        oø 0
                                    Exhibit "22"
Case 1:21-cv-00217-HSO-BWR          Document 239-4   Filed   DU IF, Page 26 of 30
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        4 Facebook

        <0             Tremaine Markray
                       Active now                                11/


                U ok?I'm just now seeing
                your message
        -11)



                I hope you ok..im praying for
                you... be strong everything going to
                be ok




                 U ok?

                 Ok...just pray GOD going to work
                 this out for you

                                          Did you tell Stephanie that
                                          we spoke?


                 No I don't talk yo Stephanie I think
                 they the one set it up but it was
                 meant for me not Leonard...

                 To

                 I can't stand her




                     Call me when u get a chance
                                           4,


                                     Exhibit "22"
Case 1:21-cv-00217-HSO-BWR        Document 239-4         Filed    DU qui, Page 27 of 30
                                                             II 02/28/25
        I ;Thcebook


                         Tremaine Markray
        <0 .             Active now

                  To

         11       I can't stand her


                               APR 8, 2021 AT 1111PM


         141      Call me when u get a chance


                               APR 9, 2021 A'


                                                 I will call you in a Iii bit


                               APR 9, 2021 AT 10:49AM



                                                     O       Audio call
                                                             Tap to call again


                               APR 9, 2021 AT 12:13 PM


                  Just woke up.. .how u doing


                               0-sti4 9, 2021 AT 5:461-ivi


                  U ok?


                                Yes I'm ok. It's been emotional and
                                draining to say the least.


                      I understand but I promise you GOD
                      going to work it out because they
                      was wrong..I hate you and your
                      babies are going t  "ugh this and I
                      always pray for y          mfort..just

                      continue to orav

                                                                    • 14
                                      Exhibit "22"
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                                                             D   IL& Page 28 of 30
           Facebook

               11) Tremaine Mark ray
                 •   Active now


        ,11$    Just woke up.. .how u doing

                           APR 9, 2021 AT 5:46-'M


                U ok?

                           Yes I'm ok. It's been emotional and
                           draining to say the least.

                I understand but I promise you GOD
                going to work it out because they
                was wrong..I hate you and your
                babies are going through this and I
                always pray for yall comfort, .just

         47)    continue to pray

                           That's all I have been doing is
                           praying. We didn't get the outcome
                           from the grand jury that we would
                           have like but I'm standing in faith
                           that somehow his name will be
                           cleared and justice will still be
                           served.


                Me too..I don't understand how they
                could come to a conclusion without
                appearing in court.. .but GOD going
                to bring the truth out because
                something wasn't right about that
                night..it was like it was planned

                 For it to happen to me not leonard



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        <o
             16, Tremaine Markray
                       ALtive ROW
                                                                 114
                            praying. We didn't get the outcome
                            from the grand jury that we would
                            have like but I'm standing in faith
                            that somehow his name will be
                            cleared and justice will still be
                            served.


                Me too. .1 don't understand how they
                                                  ut
                could come to a conclusion witho
                appearing in court...but GOD going
                to bring the truth out because
                                                  t
                something wasn't right about tha
                night..it was like it was planned
                                                        rd
                    For it to happen to me not leona

                              APR 9, 2021 AT 6:15rm


                                            Why do you believe that?


                    Because they the ones called the
                                                         ew
                    police and I think one of them kn
                    that police personally because the
                                                         nt
                    police didn't pull their cars in fro
                                                           the
                    of the house they parked around
                                                    and
                    corner.they came out on me
                                                          just
                     Leonard from the bushes...thats
                     not what police do.. .when their
                                                    rs to
                     dispatched they pull their ca
                                                            ow
                     the address that was stated...I kn
                     for a fact something wasn't right
                     about that night




                                    Exhibit "22"
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·1

·2· · · · · · · · · CERTIFICATE OF REPORTER

·3

·4· · · · I, AMANDA WOOTTON, Court Reporter and Notary

·5· ·Public for the State of Mississippi, do hereby certify

·6· ·that the above and foregoing pages contain a full,

·7· ·true and correct transcript of the proceedings had in

·8· ·the aforenamed case at the time and place indicated,

·9· ·which proceedings were recorded by me to the best of

10· ·my skill and ability.

11· · · · I also certify that I placed the witness under

12· ·oath to tell the truth and that all answers were given

13· ·under that oath.

14· · · · I certify that I have no interest, monetary or

15· ·otherwise, in the outcome of this case.

16· · · · · · ·This the 4th day of September 2024.

17

18

19

20
· · · · · · · · · · · · · · _________________
21· · · · · · · · · · · · · AMANDA M. WOOTTON

22· ·My Commission Expires:
· · ·December 15, 2026
23

24

25


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